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                              UNITED STATES DISTRICT COURT
                               DISTRICT OF MASSACHUSETTS

    UNITED STATES OF AMERICA                      )
                                                  )
                         v.                       )        CRIMINAL NO. 16-10134-DPW
                                                  )
    DAVID TKHILAISHVILI                           )

              DEFENDANT DAVID TKHILAISHVILI’S MOTION IN LIMINE

       Defendant David Tkhilaishvili (“Tkhilaishvili”) moves to preclude the government from

introducing transcripts of recorded conversations between himself and the complaining witness in

this case, John Doe A, on November 25 and 30 of 2015.

       David Tkhilaishvili and his brother Jambulat (“James”) Tkhilaishvili have been charged

with conspiracy to commit extortion and attempted extortion in violation of the Hobbs Act, 18

U.S.C. § 1951. David Tkhilaishvili has also been charged with two counts of embezzlement from a

health care program, in violation of 18 U.S.C. § 669(a).

       The defendants in this matter were born in the Republic of Georgia. The complainant,

identified in the Indictment as John Doe A, in the Republic of Armenia. On April 7, 2017, defense

counsel received two transcripts of recorded conversations between Mr. Tkhilaishvili and John Doe

A in November of 2015 that the government allowed John Doe A to review and edit. The

government represented to counsel that the changes he made were not significant. Defense counsel

notified the government from the moment these edited transcripts were disclosed that he was not

agreeing to their admission into evidence unless an independent translator/linguist reviewed John

Doe A’s changes and attested to their accuracy. At the pretrial conference held in this matter on

Wednesday April 26, 2017, defense counsel notified the Court that he had not yet received word
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from the government that any independent translator/linguist had conducted such a review and

stated that his agreement that the transcripts were accurate was contingent on this confirmation.

       In conducting a further review of the amended transcripts, defense counsel noted that there

were many changes made by John Doe A to the original translation of the recordings by

independent linguists that fundamentally changed the context of certain passages and ultimately

made Mr. Tkhilaishvili’s general replies more violent in tone. This case concerns allegations of

extortionate threats of violence made by Mr. Tkhilaishvili and his brother against John Doe A and

the result of the government’s ill-advised attempts to provide clarity in the translation of

conversations that utilized words from three different languages is an opportunity for John Doe A to

clarify phrasing and context in a totally subjective manner. That the government allowed the

complaining witness to participate in the process of clarifying these transcripts at all is troubling and

it also speaks to their level of confidence in the accuracy of the original translations.

       As examples of the manner in which John Doe A’s edits have caused Mr. Tkhilaishvili’s

responses to sound more violent in nature, defense counsel attaches Addendum A below. In this

Addendum the Court can clearly see the changes that John Doe A made and their clear effect on the

tone of the passages. Moreover, in the example from the November 25, 2015 transcript, John Doe

A removes an entire phrase from the original transcript where Mr. Tkhilaishvili states that he

doesn’t beat people up and simply “talks” and not much more. The clear result is that words are

removed by John Doe A in the editing process that potentially make Mr. Tkhilaishvili sound less

violent or threatening. In the example from the November 30, 2015 transcript, John Doe A

replaces the word “drunk” with “shoot” repeatedly. There are many more examples of these biased

changes throughout these transcripts. It is obvious that the cumulative effect of these edits by John

Doe A is to cast Mr. Tkhilaishvili as an even more volatile person than what is presented in the
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original transcripts. This is outrageously unfair to Mr. Tkhilaishvili as he was not given a similar

opportunity to edit these transcripts himself and attempt to correct mistakes and provide clarity and

context to what he said. As a practical matter, neither the complaining witness nor the defendants

in this case should be allowed to determine translations in such a unilateral and unchecked manner.

       Defense counsel finally did receive word on April 30, 2017, that an independent

translator/linguist had reviewed the edits that John Doe A had made. However, AUSA Laura

Kaplan stated to defense counsel in an email that John Doe A was “able to hear things that were

said that the translator could not.” Defense counsel took that to mean that John Doe A’s editing

took precedence over that of the independent translator. This representation from the government

gives defense counsel no measure of comfort and is, in fact, disturbing. An interested party in this

case cannot be allowed to resolve any questions regarding the accuracy of these transcripts in such a

manner. Defense counsel does not, however, contest the accuracy of the original drafts of the

transcripts provided in discovery. The government represented to defense counsel that John Doe A

had no role in creating those translations or in editing the work of independent translator/linguists.

                                             Conclusion

       For the foregoing reasons, defendant David Tkhilaishvili respectfully requests that the Court

preclude the government from introducing the transcripts of these recorded conversations which

John Doe A was allowed to edit.

                                                      DAVID TKHILAISHVILI
                                                      By His Attorney,
                                                      /s/Oscar Cruz, Jr.
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                                CERTIFICATE OF SERVICE

        I, Oscar Cruz, Jr., hereby certify that this document(s) filed through the ECF system will be
sent electronically to the registered participants as identified on the Notice of Electronic Filing
(NEF) on April 30, 2017.

                                                     /s/Oscar Cruz, Jr.
                                                     Oscar Cruz, Jr.
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                                            Addendum A


11/25/2015 Transcript Translation, Page 55

  Speaker                     Original                                     Exhibit
 DT          Wait, wait. No one is scared of me.          Wait, wait. No one is scared of me.
             Everyone knows my personality. Those         Everyone knows my personality. Those
             who know and everyone knows how to           who know and everyone knows how to
             do everything. I just say things, but I      do everything. I don’t beat anyone up
             don’t beat anyone up and I don’t do          for nothing and I don’t do anything to
             anything to anyone.                          anyone.


11/30/2015 Transcript Translation, Page 3

  Speaker                      Original                                     Exhibit
 DT          [OV] There should not be even one            [OV] There should not be even one
             complaint. God forbid, [UI] the person       complaint. God forbid, tomorrow the
             has 40% and someone gets him drunk           person has 40% and he will shoot
             [PH]. It will be fucked up!                  someone.
 VT          Who will get him drunk?                      Who will he shoot?
 DT          Let’s say, Jaba. For example                 Let’s say, Jaba. For example.
 VT          Jaba? Well, tell him he can’t get people     Jaba? Well, tell him he can’t shoot
             drunk.                                       people.
 DT          I know that, but his brain is not working.   I know that, but his brain is not working.
             If the person, uh… Anyways, uh… I told       If the person, uh… Anyways, uh… I told
             him just that, man. I told you a hundred     him just that, man. I told you a hundred
             times already. It has been that the person   times already. It has been that the person
             was close by and [UI] …do it together        was close by and [UI] …do it together
             and then see what--                          and then see what--
 VT          [OV] Tell me why there uh… You’re            [OV] Tell me why there uh… You’re
             saying that he’ll get drunk. Why should      saying that he’ll shoot. Why should you
             he get drunk? Tell him, “Well, man, are      shoot? Tell him, “Well, man, are you
             you crazy or what?”                          crazy or what?”
